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                     EXHIBIT 1
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 1

 2                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 3

 4   UNITED STATES OF AMERICA,       §
                                     §
 5        Plaintiff,                 §
                                     §
 6   VS.                             §          CASE NO. 2:12-CV-02334
                                     §
 7   L. RICHARD SHEARER, et al.,     §
                                     §
 8        Defendants.                §
     ________________________________§
 9
                DEFENDANT SWENSON, TRUSTEE'S OBJECTIONS TO
10             UNITED STATES' RESPONSE TO INTERROGATORIES -
                       FIRST SET BY STANLEY SWENSON
11

12                          REQUESTS AND RESPONSES

13        Swenson Request no. 1. Did the I.R.S propose any income tax

14   examination change for the Shearers or Trusts for any of the tax

15   years 1995 through the present tax year, and if so, please pro-

16   vide the date and related tax year(s) of any assessments and

17   Notices of Deficiency which were issued based on such suggested

18   income tax examination changes and the names, current business

19   addresses and business telephone numbers of the Agents making

20   such assessments or issuing such Notices of Deficiency, along

21   with their I.R.S. I.D. and/or badge numbers?

22        United States Response: Objection, the years 2002 the pre-

23   sent are not in suit and to that extent the request is unduly

24   burdensome. Assuming that the question refers to the 1995-2001

25   "years at issue" in this case, there were examinations of the

26   Shearers for the years at issue.        Said examinations culminated in

27   assessments against the Shearers in 2004. The Shearers filed

28   amended returns in 2006 for the years at issue accepting on their


                                         1
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 1   personal   tax   returns     the   income   previously      reported     by   the

 2   Trusts. Those amended returns were submitted for audit reconsi-

 3   deration and accepted as filed by the IRS, with the exception of

 4   a few details. The 2004 assessments were adjusted accordingly.

 5   Because a Court has not determined whether the Shearer income

 6   would be taxed to them or to the Trust defendants, the Trusts

 7   were also examined and assessments made to protect the IRS from

 8   whipsaw. If the Shearers' income is adjudicated and determined to

 9   be theirs in this action, then the assessments against the Trusts

10   will be abated. It does not appear that any substantial payments

11   or credits are on the Trusts accounts with the IRS.

12          Because there is no substantial dispute as to the amount of

13   the tax assessments, the United States objects to the request for

14   the names and numbers of the auditors as unduly burdensome. If

15   specific information is sought concerning the audits the trial

16   attorney should be contacted further.

17          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

18   This   interrogatory   was    obviously     answered   by    an    IRS   Revenue

19   Officer or other employee who made judicial decisions as to what

20   issues are relevant in this case.            The relevance of issues in

21   this case is governed by the relevancy test of the                Federal Rules

22   of Evidence.     FRE Rule 401 defines relevant evidence as evidence

23   which makes a fact issue in a case more likely probable or not

24   probable if such evidence is true.           Sprint/United Mgmt. v. Men-

25   delsohn 552 U.S. 379, 387 (2008):

26          Relevance and prejudice under [FRE] 401 and 403 are
            determined in the context of the facts and arguments in
27          a particular case, and thus are generally not amenable
            to broad per se rules [that would exclude the
28          evidence]." See also Daubert v. Merrell Dow Pharms.,


                                            2
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 1        509 U.S. 579, 587 (1993) (FRE 401's basic standard of
          relevance is liberal one.)
 2
          Defendant Swenson timely filed an answer in this case on
 3
     February 14, 2013. DKT NO. 12.
 4
          That Amended Answer raised among other defenses the affirma-
 5
     tive defense of administrative estoppel.       DKT. NO. 12, PP 4-5.
 6
          Administrative estoppel bars IRS from taking inconsistent
 7
     tax positions i.e. violating the principle of "double taxation"
 8
     and after taking such a prohibited action or position, taxing
 9
     both the Shearers and the trusts on the same income.          Income may
10
     not be doubly taxed.
11
          Further in this case, as the Trial Court has been made well
12
     aware, the Government is asserting entity avoidance theories of
13
     sham, alter ego, and nominee, as well as fraudulent transfer in
14
     an effort to avoid a legal ruling upholding the trusts as both
15
     separate taxable entities and valid trust entities under Califor-
16
     nia law.
17
          Any inconsistent actions on the part of the IRS or the
18
     Government which treat or treated the trusts as valid either
19
     prior to the filing of this case or after this case was filed ARE
20
     RELEVANT PROOF ADMISSIBLE TO IMPEACH OR REBUT THE IRS AND GOVERN-
21
     MENT POSITIONS THAT THE TRUSTS ARE NOT VALID TAXABLE ENTITIES OR
22
     VALID TRUST ENTITIES UNDER CALIFORNIA STATE LAW.
23
          IRS Revenue Officer and/or auditor Mee Cha who improperly
24
     signed the required verification of the Government's answers to
25
     interrogatories based on his "information and belief" instead of
26
     personal knowledge is no judicial officer and is not entitled to
27
     determine what is relevant and what is not relevant in a civil
28


                                         3
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 1   tax case.    Likewise, IRS Revenue Officer Mee Cha has no pooh bah

 2   power to refer any questions of relevancy to DOJ's trial attor-

 3   neys in the Tax Division.         Even further DOJ trial attorneys

 4   apparently failed to properly supervise IRS agent Mee Cha and

 5   allowed agent Mee Cha to decide what was relevant and what was

 6   not.

 7          Evidence 101 in law school teaches all attorneys that under

 8   most civil rules applied for litigation in this country and its

 9   various states and under the Federal Rules of Civil Procedure the

10   scope of relevance in discovery matters is very broad.

11          Swenson Trustee was entitled to obtain meaningful discovery

12   from the Government in support of his affirmative defenses.              The

13   Government's purported answers to these interrogatories deprived

14   Swenson Trustee of his discovery rights.

15          The DOJ trial attorneys are responsible for the glaring

16   deficiencies in its answers to interrogatories and responses to

17   requests for production.    These deficiencies resulted from inten-

18   tional discovery conduct assuming DOJ counsel actually read the

19   answers and responses to the interrogatories and requests for

20   production in this case which the Government claims it sent

21   Defendant Swenson Trustee's counsel Izen.       The existing deficien-

22   cies in the Government's responses support a finding of fault

23   required by FRCP Rule 37 and its provisions providing exclusion

24   as a consequence of such deficiencies.

25          The fact that this Court previously decided the Shearers'

26   tax liability for various years in question by a previous summary

27   judgment ruling did not support and does not currently support

28   the Government's claims that it was excused from properly re-


                                         4
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 1   sponding   to   Swenson   Trustee's   discovery   requests   because     the

 2   Shearers' tax deficiencies would be decided and any other issues

 3   would be irrelevant or "too burdensome" to require proper discov-

 4   ery responses and answers.

 5        Defendant Swenson's attorney Izen gave Government counsel

 6   Jennings several stipulated enlargements to time to answer and

 7   respond to Defendant Swenson's First Set of Written Interrogator-

 8   ies and First Requests for Production.        The record and docket in

 9   this case do not reveal an order from this Court specifically

10   enlarging the thirty day periods for responses and answers provi-

11   ded by FRCP Rules 33 and 34 for serving proper answers and re-

12   sponses to such discovery.       To the extent the Government makes

13   objections to Defendant Swenson's written discovery after those

14   thirty day periods expired, the Government's objections, mainly

15   on relevance grounds, reiterated and restated in all of its

16   discovery responses WERE WAIVED.

17        Currently, trial is set to begin May 7, 2024 and even if

18   proper information and responses were provided by the Government

19   at this late date, Defendant Swenson Trustee is greatly preju-

20   diced in his efforts to prepare for trial and present his case

21   including proof of his affirmative defenses.

22
          Swenson Request no. 2. List and describe in complete detail
23
     the identity(s) of any third parties that I.R.S. auditors or
24
     agents contacted in determining the income allegedly received by
25
     the Shearers and/or the Trusts for tax years 1995 through 2001
26
     including full names, addresses, contact persons for such third
27
     parties, and current business telephone numbers, if known and
28


                                           5
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 1   provide a summary of the Defendants' income information, if any,

 2   allegedly received from each third party.

 3        United   States   Response:   Because   there   is   no   substantial

 4   dispute as to the income reported by the Shearers after they

 5   submitted amended tax returns, the United States objects to the

 6   request for the third party contacts as unduly burdensome and

 7   unlikely to lead to admissible evidence.

 8        Richard Shearer was the subject of a criminal investigation

 9   and prosecution involving the Trusts. The criminal file is not

10   readily available to the civil trial attorney in this case and

11   may be subject to legal restrictions on dissemination and will

12   not be produced, except to the extent that items were used and

13   included in the civil audit files. Requests pertaining to the

14   criminal investigation should be directed to the attorneys in

15   that case. If copies of the publicly-filed criminal exhibits are

16   obtained, a copy will be served on counsel for the Shearers and

17   the Trusts.

18
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
19
     See Defendant Swenson Trustee's Objection to Government's Objec-
20
     tion and Response to Response No. 1 above.
21

22
          Swenson Request no. 3. List and describe in complete detail
23
     the third parties, if any, that I.R.S. auditors and agents con-
24
     tacted in determining the entitlement of the Shearers and Trusts
25
     to any deductions, credits, or allowances, for tax years 1995
26
     through 2001 including full names, addresses, contact persons for
27
     such third party entities, if any, and current business telephone
28


                                         6
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 1   numbers, if known and provide a brief summary of any financial

 2   information supporting such deductions, credits, and allowances,

 3   if any, provided by any such third parties.

 4        United   States    Response:   Because    there   is   no   substantial

 5   dispute as to the deductions and adjustments allowed by Service

 6   after the Shearers submitted amended tax returns, the United

 7   States objects to the request for the third party contacts as

 8   unduly burdensome and unlikely to lead to admissible evidence.

 9   Requests   pertaining    to   the   criminal   investigation      should   be

10   directed to the attorneys in that case.

11        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

12   See Defendant Swenson Trustee's Objection to Government's Objec-

13   tion and Response to Response No. 1 above.

14

15        Swenson Request no. 4. List and describe the date, content,

16   and place of filing, of all income tax assessments and Notices of

17   Deficiency against the Shearers and Trusts for tax years 1988

18   through 2001.

19        United States Response: Objection: The request is unduly

20   burdensome to the extent that it requests information from out-

21   side the years in suit, 1995-2001. The United States will provide

22   Certificate of Assessments and Payments for the years at issue

23   for the Shearers and the Trusts (if assessments were made). To

24   the extent that any further information is requested, the United

25   States objects to the request as unduly burdensome, and unlikely

26   to lead to admissible evidence.

27        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

28   See Defendant Swenson Trustee's Objection to Government's Objec-


                                           7
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 1   tion and Response to Response No. 1 above. The Government has not

 2   yet provided any Certificate of Assessments to Defendant Swenson

 3   Trustee for any of the trusts at issue in this case.               If the

 4   Government portal actually contained Certificate of Assessment

 5   documents at the link provided by the Government in March, 2024,

 6   Defendant Swenson Trustee was unable to access those Certificates

 7   of Assessment because there was no link to download them provided

 8   in the Box. See Declaration of Joe Alfred Izen, Jr. in Support of

 9   Exclusion of Evidence or Other Remedies under FRCP Rule 37.

10

11        Swenson Request no. 5. List and describe the date, time, and

12   place of filing, of all tax liens and levies, or Notices of Tax

13   Liens or Levies against the Shearers and Trusts, for tax years

14   1988 through 2001 and describe the contents of any such tax lien

15   or levy or Notice of Tax Lien or Levy.

16        United States Response: Objection: The request is unduly

17   burdensome to the extent that it requests information from out-

18   side the years in suit, 1995-2001. The United States will provide

19   copies of the filed notices of federal tax lien. To the extent

20   that any further information is requested, the United States

21   objects to the request as unduly burdensome, and unlikely to lead

22   to admissible evidence.

23        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

24   See Defendant Swenson Trustee's Objection to Government's Objec-

25   tion and Response to Response No. 1 above. The Government has not

26   yet provided any Notices of Lien to Defendant Swenson Trustee for

27   any of the trusts at issue in this case.             If the Government

28   portal actually contained Notices of Lien documents at the link


                                         8
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 1   provided by the Government in March, 2024, Defendant Swenson

 2   Trustee was unable to access those Certificates of Assessment

 3   because there was no link to download them provided in the Box.

 4   See Declaration of Joe Alfred Izen, Jr. in Support of Exclusion

 5   of Evidence or Other Remedies under FRCP Rule 37.

 6

 7        Swenson Request no. 6. List, name, and describe all witnes-

 8   ses with knowledge of facts relevant to the claims of the United

 9   States against Defendants, L. Richard Shearer, Diane Shearer and

10   Stanley Swenson, Trustee of the Berryvale Trust, Hotlum Trust and

11   Regency Trust, alleged and/or made in the Government's Amended

12   Complaint, providing names, current addresses, current telephone

13   numbers, current contact information, job status or position of

14   employment, and a brief summary of the witness' knowledge or

15   expected testimony.

16        United States Response: Witnesses likely to have discover-

17   able information about the sham trust arrangement include L.

18   Richard Shearer, Diane Shearer and Stanley Swenson, each of whom

19   is represented by counsel in this case. Regarding encumbrances on

20   the subject properties: Evelyn Louise Shearer, 11075 Benton St

21   Apt 128, Loma Linda, CA 92354, (909) 796-1687; and Vernon L.

22   Swenson, and Leora Swenson, address unknown. The United States

23   will present evidence from the IRS file and accounts through Mee

24   Cha, Revenue Officer, and a Revenue Agent to be determined. It

25   appears that Floyd A. Freeman, who reviewed the amended returns,

26   has retired and his address is unknown. Revenue Agent Nancy Yang

27   may discuss the process concerning the amended returns and penal-

28   ties. A Special Agent may discuss the trust scheme and the crimi-


                                          9
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 1   nal exhibits. Information regarding the Trusts may be obtained

 2   from Lonnie D. Crockett, Daniel Bullock, and Richard D. Pfeiffer,

 3   addresses unknown.

 4        A deposition of the custodian of bank records of the Trusts

 5   may be necessary.

 6        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

 7   The Government does not fully disclose all the names and contact

 8   information of witnesses which the Government claims have know-

 9   ledge of relevant facts in this answer to interrogatory.                  The

10   Government lists an unnamed special agent and states vaguely that

11   this unnamed special agent will testify as to the "sham arrange-

12   ment" regarding the "trusts."       The Government refers to a special

13   agent's report.         Neither the actual name of the special agent

14   that the Government may call to testify nor the special agent

15   report     was   ever   produced   or   provided   to   Defendant   Swenson

16   Trustee.    If the name of the agent and the special agent's report

17   are alleged by the Government to have been provided in March,

18   2024 Defendant Swenson Trustee was unable to access the informa-

19   tion in the "Box" which the Government claims it provided access

20   to by sending a link to Defendant Swenson Trustee's counsel.

21

22        Swenson Request no. 7. Did the I.R.S. allow any allowances,

23   expenses, or credits, incurred in the production of income alleg-

24   edly received by the Shearers and/or Trusts for any type of

25   income for tax years 1995 through 2001 in the assessments on

26   which the assessments which the Government has sued in this case

27   are based?

28        United States Response: The business expenses reported by


                                             10
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 1   the Shearers were allowed as reported on the amended returns,

 2   with only details changed. No expense relating to the Trusts was

 3   allowed to the Shearers, because the IRS disregarded the separate

 4   existence of each Trust for purposes of the Shearer assessments.

 5

 6        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

 7   See Defendant Swenson Trustee's Objection to Government's Objec-

 8   tion and Response to Response No. 1 above.

 9

10        Swenson Request no. 8. If the answer to Interrogatory Number

11   7 above is "yes" please provide a summary of the type and amounts

12   of all such deductions, allowances, or credits allowed along with

13   a description of the type of deduction, expense, allowance or

14   credit and how it was incurred.

15        United   States   Response:   Because   there   is   no   substantial

16   dispute as to the tax assessments against the Shearers, the

17   United States objects to the request as unduly burdensome and

18   unlikely to lead to admissible evidence. The amount of the as-

19   sessments against the Trusts are not at issue in this case be-

20   cause the Trusts will be disregarded as entities if the United

21   States prevails. If specific information is sought concerning the

22   audits the trial attorney should be contacted further.

23

24        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

25   See Defendant Swenson Trustee's Objection to Government's Objec-

26   tion and Response to Response No. 1 above.

27        Swenson Request no. 9. Did the I.R.S. ever audit the Straw-

28   berry Trust, Hotlum Trust, Regency Trust, or Berryvale Trust


                                          11
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 1   (E.I.N.   XX-XXXXXXX),    and   issue     any   income       tax   examination

 2   changes, assessment, or Notices of Deficiency related to such

 3   audit, and if so, what were the         names of the Auditors and their

 4   I.R.S. I.D. or badge numbers?

 5        United   States   Response:   Because      there   is    no   substantial

 6   dispute as to the tax assessments against the Shearers, the

 7   United States objects to the request as unduly burdensome and

 8   unlikely to lead to admissible evidence. Because a Court has not

 9   determined whether the Shearer income would be taxed to them or

10   to the Trust defendants, some of the Trusts were also examined

11   and assessments made to protect the IRS from whipsaw. If the

12   Shearers' income is adjudicated and determined to be theirs in

13   this action, then the assessments against the Trusts will be

14   abated. It does not appear that any substantial payments or

15   credits are on the Trusts accounts with the IRS.

16        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

17   See Defendant Swenson Trustee's Objection to Government's Objec-

18   tion and Response to Response No. 1 above.

19

20        Swenson Request no. 10. Please list and describe any proof

21   which may be offered by the Government at the trial on the merits

22   of this case which supports the I.R.S. Contention that the Re-

23   gency Trust (E.I.N. XX-XXXXXXX) is a sham trust or alter ego of

24   the Shearers, under the tax laws of the United States.

25        United States Response: The Regency Trust is a sham trust

26   because it was formed and operated as part of a scheme to defraud

27   the United States. The admissions of fact by Richard Shearer in

28   the criminal case plea agreement dated October 1, 2001, are


                                          12
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 1   incorporated here by this reference. A copy of the plea agreement

 2   will be provided to counsel. On or about May 15, 1995, the Shear-

 3   ers transferred 534 North Main Street to the "Regency Trust" in

 4   exchange for no consideration at a time that they anticipated

 5   disputes with the IRS. Because the Trusts were formed to defraud

 6   a creditor, they are void under California law. There is no

 7   economic substance to the separation between the Trusts and the

 8   Shearers. There is no reason to consider each Trust a separate

 9   entity. Transfers to the Trusts violated the reporting require-

10   ments of estate and gift tax laws. The Shearers controlled the

11   trustees of the Trusts and used the Trusts as nominees, alter

12   egos,    and   fraudulent   transferees.   The   Shearers   continued     to

13   benefit from the property purportedly transferred into trust, and

14   so the Trusts are all grantor trusts, which are disregarded under

15   the Internal Revenue Code. The tiered Trusts were used to impro-

16   perly generate and multiply deductions and to conceal income. The

17   depositions     of   Stanley   Swenson,   Richard   Shearer,   and   Daniel

18   Bullock are incorporated by this reference.

19

20
             Swenson Request no. 11. Please list and describe any proof
21
     which may be offered by the Government at the trial on the merits
22
     of this case which supports the I.R.S. Contention that the Re-
23
     gency Trust (E.I.N. XX-XXXXXXX) is a sham trust or alter ego of
24
     the Shearers, under the laws of the State of California or other
25
     State where it was formed?
26
             United States Response: The response to request no. 10,
27
     above, is incorporated by this reference.
28


                                          13
       Case 2:12-cv-02334-DJC-DB Document 164-1 Filed 03/28/24 Page 15 of 17

 1
          Swenson Request no. 12. How did the I.R.S. arrive at the
 2
     deficiency for the Regency Trust in the amount of $12,845.79 in
 3
     its Notice CP163, for Tax Period for December 31st, 1999, with
 4
     Notice Date of October 7th, 2013?
 5
          United States Response: Because a Court has not determined
 6
     whether the Shearer income would be taxed to them or to the Trust
 7
     defendants, the Trusts were also examined and assessments made to
 8
     protect the IRS from whipsaw. If the Shearers' income is adjudi-
 9
     cated and determined to be theirs in this action, then the as-
10
     sessments against the Trusts will be abated. It does not appear
11
     that any substantial payments or credits are on the Trusts ac-
12
     counts with the IRS. Because there is no substantial dispute that
13
     the income of the Trusts is taxed to the Shearers, and no dispute
14
     about the amount of that income, the United States objects to the
15
     remainder of the request as unduly burdensome and unlikely to
16
     lead to admissible evidence.
17
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
18
     See Defendant Swenson Trustee's Objection to Government's Objec-
19
     tion and Response to Response No. 1 above.
20

21
          Swenson Request no. 13. When did the I.R.S. First become
22
     aware of each of the alleged fraudulent transfers or conveyances
23
     of 717 Michelle Drive, Michelle Drive Lot, 701 Pine Street, and
24
     534 North Main Street, alleged on pages three through five of the
25
     Government's Amended Complaint?
26
          United States Response: Objection: irrelevant, unduly bur-
27
     densome and unlikely to lead to admissible evidence.
28


                                          14
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 1        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

 2   See Defendant Swenson Trustee's Objection to Government's Objec-

 3   tion and Response to Response No. 1 above. Unless this Court is

 4   willing to rule that fraudulent transfer actions against alleged

 5   fraudulent transferees who are not the taxpayer that is the

 6   target of the IRS have no statutes of limitation, the information

 7   sought by this interrogatory is relevant to the issue of the

 8   accrual date of the fraudulent transfer action. The statute of

 9   limitations, if applicable, runs from the accrual date which, at

10   the latest, is the date reasonable diligence would have resulted

11   in the discovery of the fraudulent transfer.

12

13        Swenson Request no. 14. Have any of the Trust Defendants,

14   through their Trustee(s), including Stanley Swenson, paid any

15   income taxes for the tax years 1988 through 2001?

16        United States Response: To the extent that the request seeks

17   personal tax information of Stanley Swenson, none will be provi-

18   ded. 26 U.S.C.    6103. To the extent that it requests information

19   beyond the years at issue, the request is unduly burdensome and

20   unlikely to lead to admissible evidence. It does not appear that

21   any substantial payments or credits are on the Trusts accounts

22   with the IRS. An additional search will be requested by the trial

23   attorney.

24        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

25   See Defendant Swenson Trustee's Objection to Government's Objec-

26   tion and Response to Response No. 1 above.

27

28        Swenson Request no. 15. If the Answer to any portion of


                                          15
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 1   Interrogatory No. 14 above is affirmative, please describe by

 2   date, amount, and tax years any such income tax payments which

 3   were made, indicating the name and address, if known, of the

 4   payor and the form of proof of such payment(s) in the possession

 5   or knowledge of the Government.

 6        United     States    Response:   No      evidence    of   payment   by   the

 7   Trusts, or collection from the Trusts, has been presented by

 8   Stanley Swenson.

 9        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

10   See Defendant Swenson Trustee's Objection to Government's Objec-

11   tion and Response to Response No. 1 above. The Government's

12   response   to   this     interrogatory     is   totally   non-responsive      and

13   outrageous.      Defendant Swenson Trustee has no legal duty to

14   present evidence to the Government concerning payment in order to

15   be entitled to discovery of evidence in the Government's posses-

16   sion, custody, or control, proving payment.

17

18

19

20

21

22

23

24

25

26

27

28


                                              16
